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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOSEPH SANCHEZ,

                             Plaintiff,

             v.                                                        ORDER

THOMAS GRIFFIN,                                                  16 Civ. 6433 (ER)

                             Defendant.



RAMOS, D.J.

        On August 12, 2016, Joseph Sanchez filed a habeas petition under 28 U.S.C. § 2254.

Doc. 1. On January 20, 2017, the Court stayed his case pending resolution of his post-conviction

motion requesting DNA testing in state court. Docs. 17, 18. On October 4, 2019, Sanchez

informed the Court that his motion for DNA testing was still pending. Doc. 20. Since then,

Sanchez has not updated the Court on the status of his DNA motion. Accordingly, Sanchez is

directed to submit a status report by November 19, 2020 and every three months thereafter.

Failure to comply with the Court’s order could result in sanctions, including dismissal for failure

to prosecute. Fed. R. Civ. P. 41(b).

       It is SO ORDERED.

Dated: November 5, 2020
       New York, New York

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                                                            Edgardo Ramos, U.S.D.J.
